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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :   No. 22-CR-240 (AKH)
                 - v. -                                        :
                                                               :
SUNG KOOK (BILL) HWANG and                                     :
PATRICK HALLIGAN,                                              :
                                                               :
                                    Defendants.                :
                                                               :
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                          [PROPOSED] ORDER GRANTING DEFENDANT
                           PATRICK HALLIGAN’S MOTIONS IN LIMINE


                   THIS MATTER having come before the Court upon the motions in limine of

Defendant Patrick Halligan, by his attorneys Friedman Kaplan Seiler Adelman & Robbins LLP,

and the Court having considered the submissions of the parties and the arguments of counsel, and

for good cause shown:

                   IT IS on this _______ day of ___________ 2024,

                   ORDERED that the government is precluded from offering evidence of

misrepresentations that pre-date the charged conspiracy; and it is further

                   ORDERED that the government is precluded from offering testimony from

counterparty employees that alleged misrepresentations were “material”; and it is further

                   ORDERED that the government is precluded from offering improper speculative

and conclusory evidence concerning Mr. Halligan’s state of mind based on his former position as

Archegos’s Chief Financial Officer; and it is further




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                   ORDERED that the government is precluded from introducing evidence of

alleged misstatements that it did not specify by time, date, speaker, recipient, and content in its

disclosures to the defense, i.e., the Indictment, the Superseding Indictment, its letter to counsel

dated August 18, 2022, and the Rule 404(b) notice dated December 12, 2023; and it is further

                   ORDERED that the government is precluded from asserting without any good

faith basis in admissible evidence that Mr. Halligan signed MUFG trade confirmations with

knowledge they contained a false statement; and it is further

                   ORDERED that the government is precluded from presenting evidence or

argument concerning the timing of Mr. Halligan’s disclosure of accurate monthly information to

counterparties; and it is further

                   ORDERED that the government is precluded from presenting evidence or

argument concerning tax-related “wash sale” or “wash trade” transactions; and it is further

                   ORDERED that the government is precluded from offering incorrect evidence and

argument about Archegos’s purported filing and disclosure obligations; and it is further

                   ORDERED that the government is precluded from introducing any evidence

regarding discussions on or after March 26, 2021 concerning Archegos’s potential bankruptcy

filing or wind-down; and it is further

                   ORDERED that the government is precluded from introducing any evidence of

alleged misconduct that occurred at Tiger Asia, or any criminal, regulatory, or enforcement

proceedings arising from or relating to alleged misconduct at Tiger Asia.




                                               Honorable Alvin K. Hellerstein
                                               United States District Judge



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